         Case 1:19-cr-00018-ABJ Document 161 Filed 07/31/19 Page 1 of 4



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                Case No.: 1:19-CR-00018-ABJ


UNITED STATES OF AMERICA,

              Plaintiff,

v.

ROGER J. STONE, JR.,

            Defendant.
______________________________/

     MOTION FOR AN ORDER PERMITTING DEFENDANT ROGER J. STONE
           TO ISSUE EARLY RETURN SUBPOENA DUCES TECUM
          TO THE UNITED STATES HOUSE OF REPRESENTATIVES
       PURSUANT TO FEDERAL RULE OF CRIMINAL PROCEDURE 17(c)

       Defendant, Roger J. Stone, Jr., files this Motion for an Order permitting him to issue a

subpoena duces tecum for the early return of documents to the United States House of

Representatives, pursuant to Federal Rule of Criminal Procedure 17(c). The attached subpoena

duces tecum seeks the complete original audio recording of Mr. Stone’s testimony before the

United States House of Representatives Permanent Select Committee on Intelligence (“HPSCI”),

given on September 26, 2017.

       Rule 17(c) provides, in relevant part:

              Producing Documents and Objects.

              (1) In General. A subpoena may order the witness to produce any
              books, papers, documents, data, or other objects the subpoena
              designates. The court may direct the witness to produce the
              designated items in court before trial or before they are to be
              offered in evidence.
         Case 1:19-cr-00018-ABJ Document 161 Filed 07/31/19 Page 2 of 4



       The Government has confirmed that an original audio recording of Mr. Stone’s testimony

exists. The Government intends to file a Motion in Limine to admit into evidence at trial the

transcript of Mr. Stone’s testimony. The best version of evidence is an aural recording of the

evidence.

       The original recording is a more complete, accurate and reliable source of information to

present to the jury. Relevant to the defense in this case is the materiality of Mr. Stone’s responses

to the questions asked of him. The audio recording is necessary to give the jury a full picture of

the rapid sucession of questions, the confusion and changes in topics, the shifting between

questions, statements and prompts, the number of inquisitors and the volume of inquiries and

answers given over the hours of Mr. Stone’s voluntary testimony. The tone, volume, timber and

pace of questioning is paramount.

       The original recording is relevant since the Indictment is based upon the testimony that

Mr. Stone gave before HPSCI, and the defense cannot proceed without the production in advance

of the trial. Pursuant to Federal Rule of Evidence 1002, the original audio recording would be

admissible and is preferred to a transcript. A subpoena duces tecum is the proper mechanism to

obtain such a recording. See generally, United States v. Apodaca, 251 F.Supp.3d 1, 9-10 (D.D.C.

April 21, 2017). This Motion is made in good faith.

       Roger Stone respectfully requests that the Court grant his Motion and direct the Clerk of

Court to issue the attached subpoena.




                                                 2
         Case 1:19-cr-00018-ABJ Document 161 Filed 07/31/19 Page 3 of 4



                                           Respectfully submitted,
                                           By: /s/_______________


L. PETER FARKAS                        BRUCE S. ROGOW
HALLORAN FARKAS + KITTILA, LLP         FL Bar No.: 067999
DDC Bar No.: 99673                     TARA A. CAMPION
1101 30th Street, NW                   FL Bar: 90944
Suite 500                              BRUCE S. ROGOW, P.A.
Washington, DC 20007                   100 N.E. Third Avenue, Ste. 1000
Telephone: (202) 559-1700              Fort Lauderdale, FL 33301
Fax: (302) 257-2019                    Telephone: (954) 767-8909
pf@hfk.law                             Fax: (954) 764-1530
                                       brogow@rogowlaw.com
                                       tcampion@rogowlaw.com
                                       Admitted pro hac vice

ROBERT C. BUSCHEL                      GRANT J. SMITH
BUSCHEL GIBBONS, P.A.                  STRATEGYSMITH, PA
D.D.C. Bar No. FL0039                  D.D.C. Bar No.: FL0036
One Financial Plaza, Suite 1300        FL Bar No.: 935212
100 S.E. Third Avenue                  401 East Las Olas Boulevard
Fort Lauderdale, FL 33394              Suite 130-120
Telephone: (954) 530-5301              Fort Lauderdale, FL 33301
Fax: (954) 320-6932                    Telephone: (954) 328-9064
Buschel@BGlaw-pa.com                   gsmith@strategysmith.com


CHANDLER P. ROUTMAN
D.D.C. Bar No. 1618092
501 East Las Olas Blvd., Suite 331
Fort Lauderdale, FL 33301
Tele: (954) 235-8259
routmanc@gmail.com




                                       3
         Case 1:19-cr-00018-ABJ Document 161 Filed 07/31/19 Page 4 of 4



                                CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on July 31, 2019, I electronically filed the foregoing with the

Clerk of Court using CM/ECF. I also certify that the foregoing is being served this day on all

counsel of record or pro se parties, via transmission of Notices of Electronic Filing generated by

CM/ECF.

                                                            BUSCHEL GIBBONS, P.A.



                                                            ____/s/___________________
                                                            Robert Buschel




    United States Attorney’s Office for the
            District of Columbia

Jessie K. Liu
United States Attorney
Jonathan Kravis
Michael J. Marando
Assistant United States Attorneys
Adam C. Jed
Aaron S.J. Zelinsky
Special Assistant United States Attorneys
555 Fourth Street, NW
Washington, DC 20530
Telephone: (202) 252-6886
Fax: (202) 651-3393




                                                4
